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  9                       UNITED STATES DISTRICT COURT
 10                     CENTRAL DISTRICT OF CALIFORNIA
 11   MICHAEL KENNA,                            Case No.: 2:21-cv-04425-DSF-JPR
 12                                             Hon. Jean P. Rosenbluth Presiding
      Plaintiff,
 13
                                                STIPULATED PROTECTIVE
 14   v.
                                                ORDER
 15   LIVE AUCTIONEERS, LLC, et al.
 16
      Defendants.
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  1   1.    INTRODUCTION
  2         1.1     PURPOSES AND LIMITATIONS
  3         Discovery in this action may involve production of confidential, proprietary,
  4   or private information for which special protection from public disclosure and from
  5   use for any purpose other than prosecuting this litigation may be warranted.
  6   Accordingly, the Parties hereby stipulate to and petition the Court to enter the
  7   following Stipulated Protective Order. The Parties acknowledge that this Order
  8   does not confer blanket protections on all disclosures or responses to discovery and
  9   that the protection it affords from public disclosure and use extends only to the
 10   limited information or items that are entitled to confidential treatment under the
 11   applicable legal principles. The Parties further acknowledge, as set forth in Section
 12   12.3 below, that this Order does not entitle them to file Confidential Information
 13   under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed
 14   and the standards that will be applied when a Party seeks permission from the Court
 15   to file material under seal.
 16         1.2    GOOD CAUSE STATEMENT
 17         This action is likely to involve trade secrets, customer and pricing lists and
 18   other valuable research, development, commercial, financial, technical and/or
 19   proprietary information for which special protection from public disclosure and from
 20   use for any purpose other than prosecution of this action may be warranted. Such
 21   confidential and proprietary materials and information may consist of, among other
 22   things, confidential business or financial information, information regarding
 23   confidential business practices, or other confidential research, development, or
 24   commercial information (including information implicating privacy rights of third
 25   parties), information that would be damaging if used by a competitor or for
 26   commercial advantage, technical information, information otherwise generally
 27   unavailable to the public, or which may be privileged or otherwise protected from
 28   disclosure under state or federal statutes, court rules, case decisions, or common law.

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  1   Accordingly, to expedite the flow of information, to facilitate the prompt resolution
  2   of disputes over confidentiality of discovery materials, to adequately protect
  3   information the parties are entitled to keep confidential, to ensure that the parties are
  4   permitted reasonable necessary uses of such material in preparation for and in the
  5   conduct of trial, to address their handling at the end of the litigation, and serve the
  6   ends of justice, a protective order for such information is justified in this matter. It is
  7   the intent of the parties that information will not be designated as confidential for
  8   tactical reasons and that nothing be so designated without a good faith belief that it
  9   has been maintained in a confidential, non-public manner, and there is good cause
 10   why it should not be part of the public record of this case.
 11   2.     DEFINITIONS
 12          2.1    Action: the instant lawsuit entitled Kenna v. Live Auctioneers, LLC, et
 13   al., with case number: 2:21-cv-04425-DSF-JPR
 14          2.2    Challenging Party: a Party or Nonparty that challenges the designation
 15   of information or items under this Order.
 16          2.3    “CONFIDENTIAL” Information or Items: information (regardless of
 17   how it is generated, stored, or maintained) or tangible things that qualify for
 18   protection under Federal Rule of Civil Procedure 26(c) and as specified above in the
 19   Good Cause Statement.
 20          2.3.1. “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
 21   Information or Items: extremely sensitive “Confidential Information or Items,”
 22   disclosure of which to another Party or Non-Party would be damaging if used by a
 23   competitor or for commercial advantage, or disclosure of which to another Party or
 24   Non-Party would create a substantial risk of serious harm that could not be avoided
 25   by less restrictive means.
 26          2.4    Counsel: Outside Counsel of Record and House Counsel (as well as
 27   their support staff).
 28          2.5    Designating Party: a Party or Nonparty that designates information or

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  1   items that it produces in disclosures or in responses to discovery as
  2   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
  3   ONLY.”
  4         2.6    Disclosure or Discovery Material: all items or information, regardless
  5   of the medium or manner in which it is generated, stored, or maintained (including,
  6   among other things, testimony, transcripts, and tangible things), that are produced or
  7   generated in disclosures or responses to discovery in this matter.
  8         2.7    Expert: a person with specialized knowledge or experience in a matter
  9   pertinent to the litigation who has been retained by a Party or its counsel to serve as
 10   an expert witness or as a consultant in this action.
 11         2.8    House Counsel: attorneys who are employees of a Party to this Action.
 12   House Counsel does not include Outside Counsel of Record or any other outside
 13   counsel.
 14         2.9    Nonparty: any natural person, partnership, corporation, association, or
 15   other legal entity not named as a Party to this action.
 16         2.10 Outside Counsel of Record: attorneys who are not employees of a
 17   Party to this Action but are retained to represent or advise a Party and have appeared
 18   in this Action on behalf of that Party or are affiliated with a law firm that has
 19   appeared on behalf of that Party, including support staff.
 20         2.11 Party: any Party to this Action, including all of its officers, directors,
 21   employees, consultants, retained experts, and Outside Counsel of Record (and their
 22   support staffs).
 23         2.12 Producing Party: a Party or Nonparty that produces Disclosure or
 24   Discovery Material in this Action.
 25         2.13 Professional Vendors: persons or entities that provide litigation
 26   support services (for example, photocopying, videotaping, translating, preparing
 27   exhibits or demonstrations, and organizing, storing, or retrieving data in any form or
 28   medium) and their employees and subcontractors.

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  1         2.14 Protected Material: any Disclosure or Discovery Material that is
  2   designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
  3   ATTORNEYS’ EYES ONLY.”
  4         2.15 Receiving Party: a Party that receives Disclosure or Discovery
  5   Material from a Producing Party.
  6   3.    SCOPE
  7         The protections conferred by this Stipulation and Order cover not only
  8   Protected Material (as defined above) but also any information copied or extracted
  9   from Protected Material; all copies, excerpts, summaries, or compilations of
 10   Protected Material; and any testimony, conversations, or presentations by Parties or
 11   their Counsel that might reveal Protected Material.
 12         Any use of Protected Material at trial will be governed by the orders of the
 13   trial judge. This Order does not govern the use of Protected Material at trial.
 14   4.    DURATION
 15         Even after final disposition of this litigation, the confidentiality obligations
 16   imposed by this Order will remain in effect until a Designating Party agrees
 17   otherwise in writing or a court order otherwise directs. Final disposition is the later
 18   of (1) dismissal of all claims and defenses in this Action, with or without prejudice,
 19   or (2) final judgment after the completion and exhaustion of all appeals, rehearings,
 20   remands, trials, or reviews of this Action, including the time limits for filing any
 21   motions or applications for extension of time under applicable law.
 22   5.    DESIGNATING PROTECTED MATERIAL
 23         5.1    Each Party or Nonparty that designates information or items for
 24   protection under this Order must take care to limit any such designation to specific
 25   material that qualifies under the appropriate standards. The Designating Party must
 26   designate for protection only those parts of material, documents, items, or oral or
 27   written communications that qualify so that other portions of the material,
 28   documents, items, or communications for which protection is not warranted are not

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  1   swept unjustifiably within the ambit of this Order.
  2         Mass, indiscriminate, or routinized designations are prohibited. Designations
  3   that are shown to be clearly unjustified or that have been made for an improper
  4   purpose (for example, to unnecessarily encumber the case-development process or
  5   to impose unnecessary expenses and burdens on other parties) may expose the
  6   Designating Party to sanctions.
  7         If it comes to a Designating Party’s attention that information or items it
  8   designated for protection do not qualify for that level of protection, that Designating
  9   Party must promptly notify all other Parties that it is withdrawing the inapplicable
 10   designation.
 11         5.2      Except as otherwise provided in this Order, Disclosure or Discovery
 12   Material that qualifies for protection under this Order must be clearly so designated
 13   before the material is disclosed or produced.
 14         Designation in conformity with this Order requires the following:
 15         (a) for information in documentary form (for example, paper or electronic
 16   documents but excluding transcripts of depositions or other pretrial or trial
 17   proceedings), the Producing Party must affix at a minimum the legend
 18   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 19   ONLY” to each page that contains Protected Material. If only a portion or portions
 20   of the material on a page qualify for protection, the Producing Party must clearly
 21   identify the protected portion(s) (for example, by making appropriate markings in
 22   the margins).
 23         A Party or Nonparty that makes original documents available for inspection
 24   need not designate them for protection until after the inspecting Party has indicated
 25   which documents it would like copied and produced. During the inspection and
 26   before the designation, all material made available for inspection must be treated as
 27   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 28   ONLY.” After the inspecting Party has identified the documents it wants copied

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  1   and produced, the Producing Party must determine which documents, or portions
  2   thereof, qualify for protection under this Order. Then, before producing the
  3   specified documents, the Producing Party must affix the “CONFIDENTIAL” or
  4   “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” legend to each page
  5   that contains Protected Material. If only a portion or portions of the material on a
  6   page qualify for protection, the Producing Party also must clearly identify the
  7   protected portion(s) (for example, by making appropriate markings in the margins).
  8         (b) for testimony given in depositions, the Designating Party must identify
  9   the Disclosure or Discovery Material that is protected on the record, before the close
 10   of the deposition.
 11         (c) for information produced in some form other than documentary and for
 12   any other tangible items, the Producing Party must affix in a prominent place on the
 13   exterior of the container or containers in which the information is stored the legend
 14   “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
 15   ONLY.” If only a portion or portions of the information warrant protection, the
 16   Producing Party, to the extent practicable, must identify the protected portion(s).
 17         5.3    If timely corrected, an inadvertent failure to designate qualified
 18   information or items does not, standing alone, waive the Designating Party’s right to
 19   secure protection under this Order for that material. On timely correction of a
 20   designation, the Receiving Party must make reasonable efforts to assure that the
 21   material is treated in accordance with the provisions of this Order.
 22   6.    CHALLENGING CONFIDENTIALITY DESIGNATIONS
 23         6.1    Any Party or Nonparty may challenge a designation of confidentiality
 24   at any time consistent with the Court’s scheduling order.
 25         6.2    The Challenging Party must initiate the dispute-resolution process (and,
 26   if necessary, file a discovery motion) under Local Rule 37.
 27         6.3    The burden of persuasion in any such proceeding is on the Designating
 28   Party. Frivolous challenges, and those made for an improper purpose (for example,

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  1   to harass or impose unnecessary expenses and burdens on other parties), may expose
  2   the Challenging Party to sanctions. Unless the Designating Party has waived or
  3   withdrawn the confidentiality designation, all parties must continue to afford the
  4   material in question the level of protection to which it is entitled under the
  5   Producing Party’s designation until the Court rules on the challenge.
  6   7.    ACCESS TO AND USE OF PROTECTED MATERIAL
  7         7.1      A Receiving Party may use Protected Material that is disclosed or
  8   produced by another Party or by a Nonparty in connection with this Action only for
  9   prosecuting, defending, or attempting to settle this Action. Such Protected Material
 10   may be disclosed only to the categories of people and under the conditions described
 11   in this Order. When the Action has been terminated, a Receiving Party must comply
 12   with the provisions of Section 13 below (FINAL DISPOSITION).
 13         Protected Material must be stored and maintained by a Receiving Party at a
 14   location and in a manner sufficiently secure to ensure that access is limited to the
 15   people authorized under this Order.
 16         7.2      Unless otherwise ordered by the Court or permitted in writing by the
 17   Designating Party, a Receiving Party may disclose any information or item
 18   designated “CONFIDENTIAL” only to the following people:
 19               (a) the Receiving Party’s Outside Counsel of Record in this Action, as
 20   well as employees of that Outside Counsel of Record to whom it is reasonably
 21   necessary to disclose the information for this Action;
 22               (b) the officers, directors, and employees (including House Counsel) of
 23   the Receiving Party to whom disclosure is reasonably necessary for this Action;
 24               (c) Experts (as defined in this Order) of the Receiving Party to whom
 25   disclosure is reasonably necessary for this Action and who have signed the
 26   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 27               (d) the Court and its personnel;
 28               (e) court reporters and their staff;

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  1            (f) professional jury or trial consultants, mock jurors, and Professional
  2   Vendors to whom disclosure is reasonably necessary for this Action and who have
  3   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  4            (g) the author or recipient of a document containing the information or a
  5   custodian or other person who otherwise possessed or knew the information;
  6            (h) during their depositions, witnesses and attorneys for witnesses to
  7   whom disclosure is reasonably necessary, provided that the deposing party requests
  8   that the witness sign the form attached as Exhibit A hereto and the witnesses will
  9   not be permitted to keep any confidential information unless they sign the form,
 10   unless otherwise agreed by the Designating Party or ordered by the Court. Pages of
 11   transcribed deposition testimony or exhibits to depositions that reveal Protected
 12   Material may be separately bound by the court reporter and may not be disclosed to
 13   anyone except as permitted under this Order; and
 14            (i) any mediator or settlement officer, and their supporting personnel,
 15   mutually agreed on by any of the Parties engaged in settlement discussions or
 16   appointed by the Court.
 17         Unless otherwise ordered by the Court or permitted in writing by the
 18   Designating Party, a Receiving Party may disclose any information or item
 19   designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only to
 20   the following people:
 21                (a) the Receiving Party’s Outside Counsel of Record in this action, as
 22   well as employees of said Outside Counsel of Record to whom it is reasonably
 23   necessary to disclose the information for this litigation and who have signed the
 24   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
 25   A;
 26                (b) Experts of the Receiving Party (1) to whom disclosure is reasonably
 27   necessary for this litigation, (2) who have signed the “Acknowledgment and
 28   Agreement to Be Bound” (Exhibit A);

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   1                (c) the court and its personnel;
   2                (d) court reporters and their staff;
   3                (e) professional jury or trial consultants, and Professional Vendors to
   4   whom disclosure is reasonably necessary for this litigation and who have signed the
   5   “Acknowledgment and Agreement to Be Bound” (Exhibit A); and
   6                (f) the author or recipient of a document containing the information or a
   7   custodian or other person who otherwise possessed or knew the information.
   8                (g) a mediator or settlement officer, and their supporting personnel,
   9   mutually agreed on by any of the Parties engaged in settlement discussions or
  10   appointed by the Court and, as to non-judges and non-judicial staff, who have
  11   signed the “Acknowledgment and Agreement to Be Bound” that is attached hereto
  12   as Exhibit A.
  13   8.    PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  14   IN OTHER LITIGATION
  15         If a Party is served with a subpoena or a court order issued in other litigation
  16   that compels disclosure of any information or items designated in this Action as
  17   “CONFIDENTIAL,” that Party must
  18             (a) promptly notify in writing the Designating Party. Such notification
  19   must include a copy of the subpoena or court order unless prohibited by law;
  20             (b) promptly notify in writing the party who caused the subpoena or order
  21   to issue in the other litigation that some or all of the material covered by the
  22   subpoena or order is subject to this Protective Order. Such notification must include
  23   a copy of this Order; and
  24             (c) cooperate with respect to all reasonable procedures sought to be
  25   pursued by the Designating Party whose Protected Material may be affected.
  26         If the Designating Party timely seeks a protective order, the Party served with
  27   the subpoena or court order should not produce any information designated in this
  28   action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’

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   1   EYES ONLY” before a determination on the protective-order request by the
   2   relevant court unless the Party has obtained the Designating Party’s permission.
   3   The Designating Party bears the burden and expense of seeking protection of its
   4   Confidential Material, and nothing in these provisions should be construed as
   5   authorizing or encouraging a Receiving Party in this Action to disobey a lawful
   6   directive from another court.
   7   9.    A NONPARTY’S PROTECTED MATERIAL SOUGHT TO BE
   8   PRODUCED IN THIS LITIGATION
   9             (a) The terms of this Order are applicable to information produced by a
  10   Nonparty in this Action and designated as “CONFIDENTIAL” or “HIGHLY
  11   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Such information is protected
  12   by the remedies and relief provided by this Order. Nothing in these provisions
  13   should be construed as prohibiting a Nonparty from seeking additional protections.
  14             (b) In the event that a Party is required by a valid discovery request to
  15   produce a Nonparty’s Confidential Information in its possession and the Party is
  16   subject to an agreement with the Nonparty not to produce the Nonparty’s
  17   Confidential Information, then the Party must
  18                (1) promptly notify in writing the Requesting Party and the Nonparty
  19   that some or all of the information requested is subject to a confidentiality
  20   agreement with a Nonparty;
  21                (2) promptly provide the Nonparty with a copy of this Order, the
  22   relevant discovery request(s), and a reasonably specific description of the
  23   information requested; and
  24                (3) make the information requested available for inspection by the
  25   Nonparty, if requested.
  26             (c) If the Nonparty fails to seek a protective order within 21 days of
  27   receiving the notice and accompanying information, the Receiving Party may
  28   produce the Nonparty’s Confidential Information responsive to the discovery

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   1   request. If the Nonparty timely seeks a protective order, the Receiving Party must
   2   not produce any information in its possession or control that is subject to the
   3   confidentiality agreement with the Nonparty before a ruling on the protective-order
   4   request. Absent a court order to the contrary, the Nonparty must bear the burden
   5   and expense of seeking protection of its Protected Material.
   6   10.   UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   7         If a Receiving Party learns that by inadvertence or otherwise, it has disclosed
   8   Protected Material to any person or in any circumstance not authorized under this
   9   Order, the Receiving Party must immediately notify the Designating Party in writing
  10   of the unauthorized disclosures, use its best efforts to retrieve all unauthorized
  11   copies of the Protected Material, inform the person or people to whom unauthorized
  12   disclosures were made of the terms of this Order, and ask that person or people to
  13   execute the “Acknowledgment and Agreement to Be Bound” that is attached hereto
  14   as Exhibit A.
  15   11.   INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
  16   PROTECTED MATERIAL
  17         When a Producing Party gives notice to Receiving Parties that certain
  18   inadvertently produced material is subject to a claim of privilege or other protection,
  19   the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
  20   Procedure 26(b)(5)(B).
  21   12.   MISCELLANEOUS
  22         12.1 Nothing in this Order abridges the right of any person to seek its
  23   modification by the Court.
  24         12.2 By stipulating to the entry of this Order, no Party waives any right it
  25   otherwise would have to object to disclosing or producing any information or item
  26   on any ground not addressed in this Order. Similarly, no Party waives any right to
  27   object on any ground to use in evidence of any of the material covered by this
  28   Order.

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   1         12.3 A Party that seeks to file under seal any Protected Material must
   2   comply with Civil Local Rule 79-5. Protected Material may be filed under seal only
   3   pursuant to a court order authorizing the sealing of the specific Protected Material at
   4   issue. If a Party's request to file Protected Material under seal is denied, then the
   5   Receiving Party may file the information in the public record unless otherwise
   6   instructed by the Court.
   7   13.   FINAL DISPOSITION
   8         After the final disposition of this Action, as defined in paragraph 4, within 60
   9   days of a written request by the Designating Party, each Receiving Party must return
  10   all Protected Material to the Producing Party or destroy such material. As used in
  11   this subdivision, “all Protected Material” includes all copies, abstracts, compilations,
  12   summaries, and any other format reproducing or capturing any of the Protected
  13   Material. Whether the Protected Material is returned or destroyed, the Receiving
  14   Party must submit a written certification to the Producing Party (and, if not the same
  15   person or entity, to the Designating Party) by the 60-day deadline that identifies (by
  16   category, when appropriate) all the Protected Material that was returned or
  17   destroyed and affirms that the Receiving Party has not retained any copies, abstracts,
  18   compilations, summaries, or any other format reproducing or capturing any of the
  19   Protected Material. Notwithstanding this provision, Counsel are entitled to retain an
  20   archival copy of all pleadings; motion papers; trial, deposition, and hearing
  21   transcripts; legal memoranda; correspondence; deposition and trial exhibits; expert
  22   reports; attorney work product; and consultant and expert work product even if such
  23   materials contain Protected Material. Any such archival copies that contain or
  24   constitute Protected Material remain subject to this Order as set forth in Section 4
  25   (DURATION).
  26   ///

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   1

   2   14.   SANCTIONS
   3         Any willful violation of this Order may be punished by civil or criminal
   4   contempt, financial or evidentiary sanctions, reference to disciplinary authorities, or
   5   other appropriate action at the discretion of the Court.
   6

   7   IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   8

   9
             Dated: November 29, 2021          By:     /s/ Stephen M. Doniger
                                                       Stephen M. Doniger, Esq.
  10                                                   Kelsey M. Schultz, Esq.
  11                                                   Attorneys for Plaintiff

  12

  13         Dated: November 29, 2021          By:     /s/ Stacy E. Don
                                                       Stacy E. Don, Esq.
  14
                                                       Attorney for Defendant
  15

  16
       SO ORDERED.
  17
             Dated: November 29, 2021
  18
                                                       Hon. Jean P. Rosenbluth
  19                                                   U.S. Magistrate Judge
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   1                                        EXHIBIT A
   2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
   3

   4         I, _____________________________, of ____________________________,
   5   declare under penalty of perjury that I have read in its entirety and understand the
   6   Stipulated Protective Order that was issued by the U.S. District Court for the Central
   7   District of California on November __, 2021 in the case of Kenna v. Live
   8   Auctioneers, LLC, bearing case number Case No.: 2:21-cv-04425-DSF-JPR. I agree
   9   to comply with and to be bound by all terms of this Stipulated Protective Order, and
  10   I understand and acknowledge that failure to so comply could expose me to
  11   sanctions and punishment, including contempt. I solemnly promise that I will not
  12   disclose in any manner any information or item that is subject to this Stipulated
  13   Protective Order to any person or entity except in strict compliance with the
  14   provisions of this Order.
  15         I further agree to submit to the jurisdiction of the U.S. District Court for the
  16   Central District of California for the purpose of enforcing the terms of this
  17   Stipulated Protective Order, even if such enforcement proceedings occur after
  18   termination of this action. I hereby appoint ________________________________
  19   of _________________________________________________________________
  20   as my California agent for service of process in connection with this action or any
  21   proceedings related to enforcement of this Stipulated Protective Order.
  22   Date: ______________________________________
  23   City and State where signed: _________________________________
  24

  25   Printed name: _______________________________
  26

  27   Signature: __________________________________
  28

                                                 15
